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                   UNITED STATES DISTRICT COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA

A & B CAMPBELL FAMILY, et al.,          :

                                         :
            Plaintiffs                       CIVIL ACTION NO. 3:15-0340
                                         :
            v.
                                         :        (JUDGE MANNION)
CHESAKPEAKE ENERGY
CORPORATION, et al.,                     :

            Defendants                   :


                                   ORDER

      At the end of July, 2016, counsel in the Demchak v. Chesapeake
Appalachia, LLC (3:13-cv-2289) advised the court that all of the parties in that
case, along with the parties in several companion cases assigned to the
undersigned, including Brown v. Chesapeake Energy Corp., (3:14-cv-0591),
Suessenbach v. Chesapeake Energy Corp., (3:14-cv-1197), Tyler v.
Chesapeake Appalachia, L.L.C., (3:16-cv-0456) and A & B Campbell v.
Chesapeake Energy Corp., (3:15-cv-0340), have been engaging the
mediation services of Judge Edward N. Cahn (Ret.) to assist the parties in
resolving these matters. Since then, the court has received monthly status
reports which indicate that mediation sessions are ongoing and progressing.
In light of the continuing efforts of the parties in the listed matters to resolve
their issues through mediation, the court will STAY any matters pending in
this case, as well as the undersigned’s companion cases, pending notification
by the parties that either the mediation has proven successful or that the
parties have reached an impasse. Counsel are to continue to provide the
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court with joint monthly status updates while these matters are stayed.




                                                                        s/ Malachy E. Mannion
                                                                        MALACHY E. MANNION
                                                                        United States District Judge
Date: March 22, 2017
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